




NO. 07-06-0217-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JANUARY 18, 2007

______________________________



PAUL OTTWELL, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 364
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2003-404260; HONORABLE BRADLEY S. UNDERWOOD, JUDGE

_______________________________





Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION	

Appellant was convicted after a jury trial of the offense of injury to a child and was sentenced, by the same jury, to a term of confinement for fifteen years in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;We affirm.

Appellant’s attorney has filed an 
Anders
 brief and a motion to withdraw. &nbsp;
Anders v. California
, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967). &nbsp;In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;
Id
. at 744-45. &nbsp;In compliance with 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court’s judgment. &nbsp;Additionally, counsel has certified that he has provided appellant a copy of the 
Anders
 brief and motion to withdraw and appropriately advised appellant of his right to file a 
pro se
 response in this matter. &nbsp;
Stafford v. State
, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991). &nbsp;The court has also advised appellant of his right to file a 
pro se
 response. &nbsp;Appellant has filed a response.

By his response to counsel’s 
Anders
 brief, appellant raises grounds that he alleges could possibly support an appeal. &nbsp;We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005). &nbsp;&nbsp;We have found no such arguable grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s judgment is affirmed.



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







Do not publish. &nbsp;


